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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION
SIEMENS PRODUCT LIFECYCLE
MANAGEMENT SOFTWARE INC.,
                                                  Case No.: 4:17-cv-01796
                      Plaintiff,

v.                                                JURY TRIAL DEMANDED

DOES 1- 93,

                      Defendants.

                            ORDER OF DISMISSAL WITH PREJUDICE

       Before the Court is Plaintiff’s Notice of Dismissal With Prejudice. Plaintiff Siemens

Product Lifecycle Management Software Inc. voluntarily dismisses, with prejudice, all claims

against Doe 30 (IP address 76.168.189.253), Doe 44 (IP address 104.35.235.204), Doe 62 (IP address

172.112.194.43), Doe 66 (IP address 184.91.135.98), Doe 74 (IP address 76.189.78.96), Doe 93 (IP

address 76.184.101.248) (“Defendants”) in the above-captioned action. Pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(i), a plaintiff may dismiss an action without a court order by

filing a notice of dismissal before the opposing party serves either an answer or a motion for

summary judgment.      Defendant has not filed an answer or motion for summary judgment.

Accordingly, it is hereby

       ORDERED that Doe 30 (IP address 76.168.189.253), Doe 44 (IP address 104.35.235.204), Doe 62

(IP address 172.112.194.43), Doe 66 (IP address 184.91.135.98), Doe 74 (IP address 76.189.78.96),

Doe 93 (IP address 76.184.101.248) are DISMISSED with prejudice.

       SO ORDERED AND ADJUDGED this the ____ day of _________, 2017.


                                                    ____________________________________
                                                    UNITED STATES DISTRICT JUDGE
